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ata INVOLUNTARY DISSOLUTION NOTICE

® OnSeptember 1, 2011, the Corporation or Limited Liability
Company referenced in this notice was notified that it would be
dissolved unless the legally required Annual Reports and fees
were submitted to the Secretary of State within 90 days.

e Since the Annual Réport was not successfully filed, Montana
law requires the Secretary of State to dissolve your business. This
action results in the Corporation or Limited Liability Company
forfeiting their rights to carry on business within the state in
accordance with Sections 35-6-104 and 35-8-209, Montana Code
Annotated.

e Upon mailing of this notice, dissolution proceedings against
the Corporation or Limited Liability Company have been
completed. The Corporation or Limited Liability Company has
involuntarily given up its right to transact business in the State of
Montana.

& An involuntarily dissolved Corporation or

(35-6 6-104, 35-8-209, Mca)

LLC no longer exists and is liable for the
amount of any tax, penalty, or costs to the
state of Montana. Montana law requires
this office to penalize Corporations and

LLCs that do not comply with the Annual
Report requirements provided in statute.

YOUR FOLDER IDENTIFICATION NUMBER IS:

C127125

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if you s have questions concerning this action, alease ¢ don’ t hesitate to
contact our office at AnnualReports@ mt. gov or you may call our office ©

at 406.444.5522.

TO REINSTATE....

Download the necessary forms from our website at:

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http://sos.mt.gov/Business/Reinstatement

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EXHIBIT

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ADDRESS SERVICE REQUESTED

IMPORTANT INFORMATION
Linda McCulloch

Montana Secretary of State
P.O. Box 202802

Helena, MT 59620 DO NOT DISCARD.

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Phone: 406.444.5522
sos.mt.gov

MILK RIVER HUNTING PRESERVE, LLC

VINCENT G. RIEGER, ESQ
4 MERIDIAN CT
KALISPELL MT 59901-4209

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INVOLUNTARY DISSOLUTION NOTICE

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IMPORTANT INFORMATION

